Case 2:04-cv-02876-SHI\/|-dkv Document 11 Filed 05/19/05 Page 1 of 6

Fn_¢zn nw _
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSE&5
WESTERN DIVISION

553 !9

   

GREG GRANDBERRY,
Plaintiff,
v. NO. 04-2876
RUBY BRIDGEFORTH, POSTMASTER,
UNITED STATES POSTAL SERVICE,
MEMPHIS FRONT STREET INSTALLATION,

Defendant.

\_¢~_¢vv\_r\.¢\_d`_¢`_¢\.r'~.dv

 

ORDER GRANTING DEFENDANT'S MOTION TO DISMISS

 

Plaintiff Greg Grandberry (“Grandberry”) alleges that he was
illegally discharged as an employee of the United States Postal
Service in Violation of Title VII, 42 U.S.C. § ZOOO(e) §§ §§g;
(Compl. at “T 3-4.) Before the court is defendant Ruby
Bridgeforth's (“Bridgeforth”) motion to dismiss, filed on January
18, 2005. Grandberry filed a response on May 2, 2005. Bridgeforth
filed a reply brief on May 10, 2005.

Bridgeforth argues that Grandberry’s suit must be dismissed
because Grandberry's complaint was not timely filed. (Def.’s Mot.
at 5.} Title VII creates a cause of action for employment
discrimination only after a plaintiff has pursued an administrative
remedy, such as filing a Charge of Discrimination with the EEOC. 42
U.S.C. § 2000(@)-5(f)(l); Love v. Pullman Co., 404 U.S. 522, 523

(1972). If the administrative agency's final disposition of the

Tmsdocumentwneredon€hedocket heeih1compHance
th auleseand/orYQ(B)FHcP on /"`f ’ 55

Case 2:04-cv-02876-SHI\/|-dkv Document 11 Filed 05/19/05 Page 2 of 6 Page|D 21

plaintiff’s employment discrimination claim does not satisfy a
plaintiff, he may file a civil complaint within 90 days of
receiving notice that the administrative agency has concluded its
investigation of his claim. 42 U.S.C. § 2000(e)-16(c). Failure to
file within 90 days of receiving this notice, often referred to as
a “right to sue letter,” will result in dismissal of any claims in
court. Cook v. Providence Hosp., 820 F.2d 176, 178-79 (6th Cir.
1987} .

Bridgeforth, in her motion to dismiss, alleges that
Grandberry, who was employed by the United States Postal Service,
filed a formal complaint with the Postal Service’s Equal Employment
Opportunity (“EEO”) office on November 19, 2003. (Def.'s Mot. at
2.) The EEO office mailed Grandberry a right to sue letter on
December 31, 2003. (Id.) Because the Complaint in this case was
filed on October 29, 2004, Bridgeforth contends that Grandberry did
not file suit within the 90 day period required by Title VII. (Id.
at 6.)

Grandberry' responds that “[t]he Agency' decision that was
issued in December 2003 is not a part of this lawsuit.” (Pl.'s
Resp. at 2.) Grandberry states that “[t]he Complaint filed by the
Plaintiff in this cause was originally' filed in. August 1993,
however Plaintiff entered a voluntary dismiss [sic] without
prejudice in light of the fact that he had not perfected service
within the requisite time period. The October 2004 filing was a
refilling [sic] of the first Complaint. Therefore Plaintiff has in
fact and as a matter of law, timely filed this action.” (Id. at 2-

2

Case 2:04-cv-02876-SHI\/|-dkv Document 11 Filed 05/19/05 Page 3 of 6 Page|D 22

Bridgeforth, in her reply brief, states that she has reviewed
federal district court records and cannot find a suit filed by
Grandberry in August 1993, but has discovered that Grandberry filed
a lawsuit in August 2003. (Def.'s Reply at 1-2.) That lawsuit, greg
Grandberry v. Butch Parker,l Case No. 03-2585 D/V, filed August 11,
2003 (the “August 2003 case”), challenged Grandberry’s removal from
the Postal Service and contained a complaint that is essentially
identical to the complaint filed in the instant case. Bridgeforth
appears to accept Grandberry's explanation that the instant case is
a refiling of the August 2003 case, and is unrelated to the
complaint with the EEO that led to the December 31, 2003, right to
sue letter.2 (Def.’s Reply at 2-3.) Bridgeforth, however, does not
accept Grandberry's claim that because this case is a refiling of
the August 2003 case, the instant case was timely filed. (Id.)

Given that the parties appear to agree that the case before
the court is a refiling of the August 2003 case, the initial
question is when the right to sue letter for the August 2003 case
was issued. The only reference in the record to an administrative
investigation before the filing of the August 2003 case is
paragraph 5 of the complaint in both the August 2003 case and in
the instant case which states “[o]n or about September 22, 2002 the

Plaintiff exhausted his remedies in the administrative grievance

 

l l 1 l
According to Bridgeforth, Butch Parker was the prior Memphis Postmaster
and was succeeded by Bridgeforth.
2
Assuming that Grandberry's reference to an August “1993” case in his
response was a typographical error.
3

Case 2:04-cv-02876-SHI\/|-dkv Document 11 Filed 05/19/05 Page 4 of 6 Page|D 23

process, receiving no relief therein.” Thus, it appears that
Grandberry received a right to sue letter around September 22,
2002. Even if September 22, 2002, is not when Grandberry received
his right to sue letter, he must have received it before he filed
the August 2003 case on August 11, 2003. In either case, Grandberry
received his right to sue letter well over 90 days before the
current suit was filed on October 29, 2004.

Grandberry argues that because the August 2003 case was timely
filed and this case is a refiling of the August 2003 case, this
case is timely filed.3 (Pl.'s Resp. at 1-2.) The August 2003 case
was dismissed sua sponte by the federal district court for
Grandberry’s “failure to prosecute and comply with Court orders.”
(Order Dismissing Plaintiff’s Complaint, Grandberry v. Parker, Case
No. 03-2585, March 29, 2004.) Although the earlier order did not
state whether the dismissal was with or without prejudice, the
parties have assumed that the dismissal was without prejudice, and
so will the court. “It is generally accepted that a dismissal
without prejudice leaves the situation the same as if the suit had
never been brought, and that in the absence of a statute to the
contrary a party cannot deduct from the period of the statute of
limitations the time during which the action so dismissed was
pending.” Wilson v. Grumman Ohio Corp., 815 F.2d 26, 27 (6th Cir.
1987). Consequently, the filing date of Grandberry’s Title VII

action is October 29, 2004, well over 90 days after the latest date

 

3 . . .

If Grandberry received his right to sue letter around September 22, 2002,
then the August 2003 case itself was not timely filed. It is not necessary to
address this issue.

4

Case 2:04-cv-02876-SHI\/|-dkv Document 11 Filed 05/19/05 Page 5 of 6 Page|D 24

Grandberry could have received notice of the completion of an
administrative proceeding investigating his claim of
discrimination.

For the foregoing reasons, the court GRANTS Defendant’s motion

to dismiss, and Plaintiff’s complaint is DISMISSED WITH PREJUDICE.

So ordered this m M`day of May 2005.

J/J/M/L__

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

DISTRCIT OURT -WESTENDRISRICT FTNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02876 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

 

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

l\/lemphis7 TN 38103

Harriett M. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

